538 U.S. 1056
    OLYMPIC AIRWAYSv.HUSAIN, INDIVIDUALLY, AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF HANSON, DECEASED, ET AL.
    No. 02-1348.
    Supreme Court of United States.
    May 27, 2003.
    
      1
      CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT.
    
    
      2
      C.A. 9th Cir. Certiorari granted. JUSTICE BREYER took no part in the consideration or decision of this petition. Reported below: 316 F.3d 829.
    
    